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                                                                                      LAWRENCE S. LUSTBERG
                                                                                      Director

                                                                                      Gibbons P.C.
                                                                                      One Gateway Center
                                                                                      Newark, New Jersey 07102-5310
                                                                                      Direct: (973) 596-4731
                                                                                      llustberg@gibbonslaw.com




                                                                    March 3, 2025



VIA ECF

Honorable Edward S. Kiel
United States District Judge
Mitchell H. Cohen Building
 & U.S. Courthouse
4th and Cooper Streets, Court Room 3A
Camden, New Jersey 08101

           Re:        United States v. Johnston, et al., 20-cr-800 (ESK)

Dear Judge Kiel:

        In response to the Court’s questions at the end of today’s proceedings concerning the
assessment of coconspirator hearsay, Mr. Johnston respectfully submits this brief letter by way
of short supplement to our letter of earlier today. Specifically, we write to respond to the Court’s
inquiry as to whether the Court can consider witness credibility in making a determination of
whether the Government has demonstrated by a preponderance of the evidence that the elements
of the coconspirator hearsay exception under Rule 801(d)(2)(E) is satisfied. Undoubtedly it can.

        First, under Federal Rule of Evidence 104, it is the court—and not the jury—that “must
decide any preliminary question about whether . . . evidence is admissible.” Fed. R. Evid.
104(a). Indeed, the argument that a jury would be making admissibility determinations is,
respectfully, nonsensical.

         Second, and specifically when making its findings on whether the Rule 801(d)(2)(E)
factors are satisfied, the Court not only may, but actually must, weigh the credibility and
reliability of the evidence. See, e.g., Earle v. Benoit, 850 F.2d 836, 842 (1st Cir. 1988)
(sustaining district court’s ruling excluding coconspirator statements and noting that in making
its findings a trial court “was required to weigh the evidence and assess its credibility”); United
States v. Miliet, 804 F.2d 853, 857 n.2 (5th Cir. 1986) (at the conclusion of evidence “the trial
judge is compelled to consider all independent evidence, weigh it, make credibility choices, and
determine whether it preponderates in favor of finding that rule 801(d)(2)(E) has been
satisfied”); Fields v. City of Chicago, No. 10 C 1168, 2014 U.S. Dist. LEXIS 207450, at *19
(N.D. Ill. March 9, 2014) (“Given Hawkins's dubious credibility on this point and the scant
additional evidence of Fields's knowledge and participation, the Court cannot find that
defendants have shown by a preponderance of the evidence that the recorded conversations were
in furtherance of a conspiracy to bribe the judge of which Fields was a member.”).

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         For instance, the Fourth Circuit in Precision Piping & Instruments, Inc. v. E.I. du Pont de
Nemours & Co., 951 F.2d 613, 621 (4th Cir. 1991), affirmed the district court’s exclusion of
supposed coconspirator statements because the court had determined that the proffered
statements were particularly unreliable in light of the case’s development, witnesses’ demeanors,
and a lack of adequate independent corroborating evidence. The court specifically noted that in
deciding preliminary evidentiary questions, “the trial court may weigh the credibility and
reliability of evidence, including hearsay statements, when making a preliminary determination
as to the existence of a conspiracy necessary to invoke Rule 801(d)(2)(E).” Id. Courts in this
District have applied these principles in assessing coconspirator statements. See Farris v. County
of Camden, 61 F. Supp. 2d 307, 327 (D.N.J. 1999) (endorsing a Rule 104 hearing to assess
witnesses’ credibility before determining alleged coconspirator statements).

        In sum, credibility determinations are not only permitted, but are necessary and
inevitable, when assessing alleged coconspirator statements.

         We thank the Court for its kind consideration of this matter.

                                                      Respectfully submitted,

                                                      s/ Lawrence S. Lustberg
                                                      Lawrence S. Lustberg

cc:      All counsel of record
